Case 2:Ol-CV-02780-SHI\/|-STA Document 284 Filed 07/25/05 Page 1 of 3 Page|D 334

HEDEL"SS§;__~DQ
IN THE UNITED S'I‘ATES DISTRICT COURT

FOR THE wEsTERN DISTRICT OF TENNESSEE g . ,
WESTERN DIvIsIoN 5-”-”-25 AH 6 142

 

THE CLARK CONSTRUCTION GROUP, INC. , %§WW
Plaintiff,
VS. NO. Ol-2780-Ma

CITY OF MEMPHIS, E'I' AL.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the July 20, 2005, joint motion of the
parties requesting an extension of time within Which to file
responses to the pending motions for partial summary judgment.
For good cause shown, the motion is granted. The deadline for
all parties for filing responses to motions for partial summary
judgment is August 8, 2005.

It is so ORDERED this 11 alday of July, 2005.

~A////@t_,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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